IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

COLUMBIA DIVISION
THOMAS D. REGEN, )
` )
Plaintiff, ) No.
)
VS. ) Judge
) Magistrate Judge
GILES COUNTY, TENNESSEE BOARD )
OF EDUCATION ) JURY DEMAND
)
Defendant. )

COMPLAINT
Plaintiff brings this action for disability discrimination in employment
against defendant Giles County Board of Education. Plaintiff asserts a claim arising
under the Americans With Disabilities Act, 42 U.S.C. 11 l2lOl, et seq. (“ADA”) and

states:

IDENTIFICATION OF THE PARTIES
l. Plaintiff is a resident of Pulaski, Giles County, Tennessee
unsuccessfully sought employment as a school bus driver With defendant.
2. Defendant is a governmental entity organized under the laws of the
State of Tennessee and operating throughout Giles County, Tennessee. Defendant may
be served with process through its Interim Director of Schools, J.B. Smith, lll, 270
Richland Drive, Pulaski, Tennessee 38478-2798. At all times material hereto, defendant

employed more than 15 employees

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JURISDICTION AND VENUE

3. This is an action for damages and equitable relief for unlawful
employment practices brought under the ADA. The Court has jurisdiction under 28
U.S.C. § 1331.

4. Plaintiff filed a timely charge of discrimination with the Equal
Employment Opportunity Commission (“EEOC”) and received a Notice of Right to Sue
(“Notice”) dated August l4, 2014. A copy of the Notice is attached to this Complaint.

5. Venue is proper in this Court under 28 U.S.C. § 1391 because the
acts giving rise to this Complaint occurred in an area embraced within the Columbia
Division of the Middle District of Tennessee.

FACTUAL AVERMENTS

6. On or about March 13, 2013, plaintiff applied for employment with
defendant as a substitute school bus driver.

7. Plaintiff suffers from a disability of Charcot foot resulting from
diabetes and related nerve damage. As a result, plaintiff was required to undergo a partial
amputation of approximately one-third of his right foot in 2009.

8. Plaintiff’s disability significantly affects his major life activities of
walking and standing.

9. Plaintiff disclosed his disability to defendant at time he applied for
employment with it, and defendant admitted plaintiff into its training program that is a

prerequisite for employment with defendant as a substitute school bus driver.

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10. Plaintiff successfully completed a Commercial Driver Fitness
Determination required to obtain a commercial driver’s license, and he qualified for and
obtained a “Class B” learner’s permit.

11. On or about April 11, 2013, defendant’s then-Supervisor of
Transportation Danny Hickman, asked plaintiff if his disability would prevent him from
evacuating school children from the bus, and plaintiff informed him that it would not.

12. Nevertheless, defendant required plaintiff to train on evacuation
procedures, even though such procedures were not part of defendant’s usual training
protocol.

13. On or about April 15, 2013, Mr. Hickman informed plaintiff that
defendant had determined that it wasn’t “worth the risk” to have plaintiff as a substitute
bus driver, and defendant removed plaintiff from the substitute bus driver training
program and denied his application for employment,

14. Defendant refused to hire plaintiff because of his disability and/or
perceived disability in violation of the ADA.

15. Plaintiff was able at all times to perform the essential functions of
the substitute bus driver job with defendant without any accommodation from defendant

16. At the time defendant removed plaintiff from the substitute bus
driver training program and denied his application for employment, plaintiff was able to
perform the essential functions of defendant’s substitute bus driver job position without
any accommodation from defendant

17. As a direct result of defendant’s actions, plaintiff has suffered

damages.

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18. As a result of its actions, defendant is liable to plaintiff in an
amount to be determined by the jury for the damages plaintiff has incurred as well as for
punitive damages

19. As a result of its actions, defendant is liable for plaintiffs
attorney’s fees.

20. As a result of its actions, defendant is obligated to instate plaintiff
to employment as a substitute bus driver and to make plaintiff whole for all lost earnings
and benefits

Claim for Violation of the Americans With Disabilities Act (“ADA”)

21. Plaintiff hereby incorporates and realleges the factual averments as
set forth in paragraphs l through 20 herein.

22. Plaintiff suffers from a physical or mental impairment that
substantially limits one or more of his major life activities.

23. Defendant also perceives and regards, and at all times material to
this Complaint perceived and regarded, plaintiff as having a physical or mental
impairment that substantially limits one or more of his major life activities

24. Notwithstanding his disability and defendant‘s perception of his
disability, plaintiff was and is able to perform the essential functions of the job for which
he applied and was undergoing training with defendant without any accommodation

25. Defendant refused to allow plaintiff to complete the training
program for its open substitute bus driver job position and refused to consider or hire
plaintiff for employment because of his disability and/or because of its perceptions about

his disability.

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26. Defendant failed and refused to engage in the interactive process
required by the ADA and terminated plaintiffs employment because of his disability
and/or perceived disability in violation of the ADA.

27. Defendant’s actions were in reckless indifference to plaintiffs
rights

28. As a result of its actions, defendant is liable to plaintiff in an
amount to be determined by the jury for the damages plaintiff has incurred as well as for
punitive damages

29. As a result of its actions, defendant is liable for plaintiffs
attorney’s fees.

30. As a result of its actions, defendant is obligated to instate plaintiff
to employment and to make plaintiff whole for all lost earnings and benefits

WHEREFORE, premises considered, plaintiff demands the following relief:
l. An award of compensatory and punitive damages against defendant

in an amount to be determined by the jury;

2. An award of attorneys’ fees;
3. An order of instatement;
4. Prejudgment interest and, if applicable, post judgment interest;

5. A jury for the trial of this action; and

6. Such other, further and general relief to which he may be entitled.

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